                           BARFIELD & ASSOCIATES, LLC                     File No. 181251
                                                                          Order No. 1820200




INVOICE




Invoice #:    172524
Invoice Date: 12/20/2017
Fee:          350.00
Due Date:




Lender or Client:                                Borrower:
NATIONS RELIABLE LENDING, LLC                    ARGUS-BOLYARD, SAMANTHA
2506 W. MAIN STREET SUITE 400                    224 S DAVIS STREET
HOUSTON, TX 77098                                BEVERLY HILLS, FL 34465




Item                                                                            Cost
FIELD REVIEW/FORM 2000                                                      $     350.00
                                                                            $
                                                                            $
                                                                            $
                                                                            $
                                                                            $
                                                                            $
                                                                            $
                                                                            $
                                                    Total Amount Due:       $     350.00




Terms:




Please remit payment to:

TODD L. BARFIELD, MAI, MRICS, CCIM
BARFIELD & ASSOCIATES, LLC
P.O. BOX 4338
OCALA, FL 34478




                           Produced by ClickFORMS Software 800-622-8727
